      Case: 1:10-cr-00387-SL Doc #: 239 Filed: 03/20/11 1 of 3. PageID #: 1823




                       IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION


                                                   )    CASE NO. 1:10CR387-02
UNITED STATES OF AMERICA,                          )
                                                   )    JUDGE SARA LIOI
                                                   )
                       Plaintiff,                  )
                                                   )
                                                   )
       vs.                                         )    OPINION AND ORDER
                                                   )
BRIDGET McCAFFERTY,                                )
                                                   )
                                                   )
                       Defendant.                  )




               On the first morning of trial and prior to commencement of jury selection, the

defendant moved the Court for “a separation of witnesses” and also, specifically, to exclude the

government’s representative, S.A. Christine Oliver, from the courtroom during the testimony of

S.A. Gregory D.L. Curtis. The government opposed the portion of the motion which sought to

sequester its representative, S.A. Oliver, during the testimony of S.A. Curtis.


               The Court sustained the defendant’s motion except as it pertained to the

sequestering of S.A. Oliver during the testimony of S.A. Curtis and indicated to counsel that it

would provide legal support for its ruling, which is the purpose of this Opinion and Order.


               Rule 615 of the Federal Rules of Criminal Procedure provides as follows:


              At the request of a party the court shall order witnesses excluded so that
       they cannot hear the testimony of other witnesses, and it may make the order of its
       own motion. This rule does not authorize exclusion of (1) a party who is a natural
       person, or (2) to be an officer or employee of a party which is not a natural person
       designated as its representative by its attorney, or (3) a person whose presence is
     Case: 1:10-cr-00387-SL Doc #: 239 Filed: 03/20/11 2 of 3. PageID #: 1824




       shown by a party essential to the presentation of the party’s cause, or (4) a person
       authorized by statute to be present.


       In United States v. Pulley, 922 F.2d 1283 (6th Cir.), the Sixth Circuit stated that “[i]t is

undisputed that under subpart (2) of the second sentence of Rule 615, at least one investigating

agent may be designated to remain in the courtroom as the government’s representative

notwithstanding that the agent will be a prosecution witness.” Id. at 1285 (citation omitted). This

statement is consistent with the Sixth Circuit’s holding in United States v. Martin, 920 F.2d 393

(6th Cir. 1990), decided the previous year. In rejecting a defendant’s argument that it was error

for the trial court to permit an FBI agent to remain in the courtroom during the testimony of other

government witnesses, the Sixth Circuit noted as follows:


               Even before the Federal Rules of Evidence were adopted, the law in this
       circuit was settled that the case agent may remain in the courtroom even when
       other witnesses were being sequestered. United States v. Wells, 437 F.2d 1144
       (6th Cir.1971). Federal Rule of Evidence 615, which deals with the exclusion of
       witnesses, provides that the court may not exclude “an officer or employee of a
       party which is not a natural person designated as its representative by its
       attorney....” The comments to the rules have made clear from the beginning that
       case agents are intended to be included within this exception. Although we can
       conceive of a situation in which it would be within the discretion of the trial judge
       to require a non-sequestered witness to testify first, it is difficult to conceive of a
       situation in which the failure to do so would be reversible error. The case agent is
       the prosecutor's information source and even if the agent were excluded, the
       prosecutor would still have to reveal to him what other witnesses had said and
       done in order to map out strategy. This would defeat the whole purpose of
       sequestration. Also, the case agent is frequently not the most important or
       knowledgeable government witness and to require him to testify first may well
       make no sense at all.

           The trial court acted consistent with the mandate of Fed.R.Evid. 615 in
       refusing to order the sequestration of the case agent.
     Case: 1:10-cr-00387-SL Doc #: 239 Filed: 03/20/11 3 of 3. PageID #: 1825




              On the basis of the foregoing authority, the portion of the defendant’s motion

which seeks the exclusion of the government’s representative, S.A. Oliver, during the testimony

of other investigating agents is OVERRULED.


              IT IS SO ORDERED.




Dated: March 20, 2011

                                            HONORABLE SARA LIOI
                                            UNITED STATES DISTRICT JUDGE
